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                               United States District Court
                                District of Massachusetts


          Michael Bush, pro se



                  Plaintiff



                     v.

                                                      Civil Action No.: 1:21-cv-12039

   Acton Boxborough Regional School

              District,

                Peter Light,

          Erin O’Brien Bettez,

          Dawn Griffin Bentley



                Defendants




   Plaintiff’s opposition to Defendants’ motion to stay discovery




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                               Memorandum of reasons


       The Defendants materially misrepresented key elements of the case
       In their memorandum (ECF 50) supporting their motion to stay discovery

(ECF 49), the Defendants asserted that their face mask mandate “required all students,

staff and visitors to wear a face mask when inside ABRSD facilities regardless of

vaccination status”. That is false. As revealed in the Plaintiff’s 1st amended complaint

and its 1st exhibit, the Defendants allowed multiple exemptions and exceptions to that

requirement both in their written mandate and their application of it. The person they

denied exemption to was the Plaintiff, in violation of his rights.

       The Defendants also asserted that the Plaintiff claims his rights were violated

under Title II [sic] of the Americans with Disabilities Act. That is only partially accurate.

The Plaintiff asserts that the Defendants violated his rights under both subchapters II

and III, as in this case the Acton Boxborough Regional School District is a covered entity

under both of those subchapters.


       Fed. R. Civ. P. 26(a)(1)(C) requires initial disclosures to be served by
January 18th, 2023
       Fed. R. Civ. P. 26(a)(1)(C) states that “A party must make the initial disclosures at

or within 14 days after the parties’ Rule 26(f) conference…” The Plaintiff provided his

initial disclosures to the Defendants on December 14th, 2022. In accordance with this

Court’s order, the litigants held their Fed. R. Civ. P. 26(f) conference on January 4th,

2023. Thus, the Defendants are obligated to provide their initial disclosures by January

18th, 2023.


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         Fed. R. Civ. P. 26(a)(1) disallows the Defendants’ reasons for
withholding initial disclosures
         Fed. R. Civ. P. 26(a)(1)(B) “Proceedings Exempt from Initial Disclosure” lists the

specific proceedings under which initial disclosures are not required. This proceeding

and the Defendants’ excuse for refusing to provide initial disclosures do not match any

of the specifications in Fed. R. Civ. P. 26(a)(1)(B).

         Furthermore, Fed. R. Civ. P. 26(a)(1)(E) states that, “A party must make its initial

disclosures based on the information then reasonably available to it. A party is not

excused from making its disclosures because it has not fully investigated the case or

because it challenges the sufficiency of another party’s disclosures or because another

party has not made its disclosures.” Thus, the Defendants’ refusal to provide initial

disclosures in accordance with the timelines specified by Fed. R. Civ. P. 16(b)(2),

26(a)(1)(C), and 26(f)(1) is unsupportable.


         The Defendants have introduced irrelevant matters and beaten the
same dead horses
         The Defendants’ motion is to stay discovery. Their memorandum, however,

consists of not only arguments about discovery but also mentions dismissals of other

cases.

         As the other cases’ dismissals are irrelevant to a motion to stay discovery here,

the Plaintiff will not waste this Court’s time with a lengthy rebuttal. Briefly, the court

dismissed the Bush v. Wang Center case (that had facts different than those of this case):

             1. without giving the leave to amend the complaint required by Fed. R. Civ.

                P. 15(a) and the 1st Circuit Court of Appeals,


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           2. without providing any justification for why it disregarded important and

              relevant sections of the A.D.A.,

           3. without providing any justification for why it disregarded the applicable

              C.F.R.’s instruction to courts on how to apply the A.D.A. and what

              constitutes violations of the A.D.A., and

           4. by improperly applying the A.D.A. subchapter I “Employment”

              requirement of “reasonable accommodation” to a case that fell under

              subchapter III “Public Accommodations”. Subchapter III uses the

              requirement of making necessary modifications to policies or practices to

              avoid discrimination and not the “reasonable accommodation”

              requirement. It is important to note here that the pro se Plaintiff’s former

              attorney and the Defendants in this case attempted to apply the wrong

              A.D.A. requirement. The Plaintiff wishes to bring that error to this

              Court’s attention so that the Court is not misled into mistakenly applying

              subchapter I’s requirements to this case, when these Defendants fall

              under subchapters II and III of the A.D.A.

       The Defendants also rehashed their arguments about the dismissal of the Bush et

al. v. Fantasia et al. case. They already brought that up in their prior motion to dismiss

memorandum (ECF 44). And in his opposition to that motion (46) the Plaintiff already

pointed out that the dismissal of that case was in conspicuous violation of the A.D.A.,

applicable Federal Rules of Civil Procedure, and clear instruction from the 1st Circuit

Court of Appeals. The Plaintiff will not reiterate those details again here. The improper

dismissal of that case is under appeal with the 1st Circuit Court of Appeals.



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       In Wyatt v. City of Boston, 35 F.3d 13 (1st Cir. 1994), the appeals court made clear

that under Fed. R. Civ. P. 12(b)(6), a district court must give plaintiffs notice of what the

court perceives as a complaint's deficiencies and an opportunity to amend it. Further,

“A motion to dismiss should be granted only if it ‘appears to a certainty that the

plaintiff would be unable to recover under any set of facts.’ Roma Const. Co. v. aRusso,96

F.3d 566, 569 (1st Cir. 1996); see also LaChapelle v. Berkshire Life Ins. Co.,142 F.3d 507, 509

(1st Cir. 1998).” State St. Bk. and Tr. Co. v. Denman Tire Corp., 240 F.3d 83, 87 (1st Cir.

2001). Thus, for the Defendants to incessantly push this Court to dismiss this case is

inappropriate—and all the more so in a motion to stay discovery.


       The Federal Rules require fulfillment of discovery requests and the
Defendants have failed to rebut that
       The Marquis v. FDIC, 965 F.2d 1148, 1154-55 (1st Cir. 1992) ruling the Defendants

cited states that stays of proceedings may only be issued for good cause and may only be of

reasonable duration. Given that the Plaintiff served his original complaint more than a year ago

and the Defendants still refuse to provide their initial disclosures or fulfill any discovery

requests, a stay of discovery at this point fails to meet either—much less both—of those criteria.

       The Federal and Local Rules of Civil Procedure require litigants to fulfill discovery

requests. Fed. R. Civ. P. 1 tells us that all the other Rules “should be construed, administered,

and employed by the court and the parties to secure the just, speedy, and inexpensive

determination of every action and proceeding.” That the Defendants have been allowed to

obstruct all discovery for over a year is neither speedy nor just.




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                                       Conclusion

       The Defendants have made material misrepresentations about this case in their

motion’s memorandum. They rehashed prior meritless arguments that are

inappropriate for a motion to stay discovery. And they failed to rebut the fact that they

have defied the Federal and Local Rules of Civil Procedure.

       Though the Plaintiff imagines that this Court may not be able to do much about

the Defendants’ truthfulness or lack thereof, the Plaintiff requests that this Court at least

bring the Defendants’ defiance and obstruction of discovery to a swift end.

                                                         Respectfully submitted,

              January 10th, 2023                                              , Pro Se

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                                   CERTIFICATE OF SERVICE

       I, Michael Bush, hereby certify that I have, on this 10th day of January, 2023,

electronically served a copy of the foregoing and any accompanying document(s)

pursuant to Fed. Rule Civ. Proc. 5(b)(2)(E) and Local Rule 5.2 upon the following:

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                                                         ______________________, Pro Se
                                                         Michael Bush


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